          Case 22-33553 Document 1141 Filed in TXSB on 05/12/25 Page 1 of 11




                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION
    In re:                                                  §
                                                            §              Chapter 7
    ALEXANDER E. JONES,                                     §
                                                            §              Case No. 22-33553 (CML)
                        Debtor.                             §
                                                            §

    ELEVENTH MONTHLY FEE STATEMENT OF PORTER HEDGES LLP, AS BANKRUPTCY
    COUNSEL FOR CHAPTER 7 TRUSTEE, CHRISTOPHER R. MURRAY, FOR ALLOWANCE
     OF COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
                      APRIL 1, 2025 THROUGH APRIL 30, 2025

    Name of Applicant:                                                Porter Hedges LLP, as Bankruptcy Counsel
                                                                      for the Chapter 7 Trustee, Christopher R.
                                                                      Murray

    Date of Retention Order:                                          July 30, 2024 (Doc. No. 792)1

    Period for which Fees and Expenses are                            April 1, 2025 through and including
    Incurred:                                                         April 30, 2025

    Interim Fees Incurred:                                            $19,934.50

    Interim Payment of Fees Requested (80%):                          $15,947.60

    Interim Expenses Incurred:                                        $1,919.87

    Total Fees and Expenses Due:                                      $17,867.47

This is the Eleventh Monthly Fee Statement.




1
    The Trustee’s application to employ Porter Hedges was filed at Docket No. 756.


17223528
       Case 22-33553 Document 1141 Filed in TXSB on 05/12/25 Page 2 of 11




       Porter Hedges LLP (“Porter Hedges”), as Bankruptcy Counsel for the Chapter 7 Trustee,

Christopher R. Murray (the “Trustee”), submits this Eleventh Monthly Fee Statement (the “Fee

Statement”) for the period from April 1, 2025 through April 30, 2025 (the “Application Period”)

in accordance with the proposed Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Professionals and Trustee [Docket No. 793] (the “Interim

Compensation Order”).

       Porter Hedges requests compensation for professional services rendered in the amount of

$19,934.50 (the “Fees”), and for reimbursement of out-of-pocket expenses incurred in the amount

of $1,919.87 (the “Expenses”), for the period from April 1, 2025 through April 30, 2025. Eighty

percent (80%) of the fees equals $15,947.60 and one hundred percent (100%) of the Expenses

equals $1,919.87 for a total requested amount of $17,867.47.

       Summaries of the calculations for these fees by project category and expenses are attached

hereto as Exhibit 1 and Exhibit 2, respectively. A summary of the time expended by Porter

Hedges attorneys and support staff, together with their respective hourly rates, is attached hereto

as Exhibit 3. Porter Hedges’ invoice for the Application Period is attached hereto as Exhibit 4.

       WHEREFORE, Porter Hedges respectfully requests payment and reimbursement in

accordance with the procedures set forth in the proposed Interim Compensation Order (i.e.,

payment of eighty percent (80%) of the compensation sought, in the amount of $15,947.60 and

reimbursement of one hundred percent (100%) of expenses incurred in the amount of $1,919.87

in the total amount of $17,867.47.




                                                 2
17223528
       Case 22-33553 Document 1141 Filed in TXSB on 05/12/25 Page 3 of 11




Dated: May 12, 2025.
       Houston, Texas                               Respectfully Submitted,

                                                    By: /s/ Joshua W. Wolfshohl
                                                    PORTER HEDGES LLP
                                                    Joshua W. Wolfshohl (TX Bar No. 24038592)
                                                    1000 Main St., 36th Floor
                                                    Houston, Texas 77002
                                                    Telephone: (713) 226-6000
                                                    Facsimile: (713) 226-6248
                                                    jwolfshohl@porterhedges.com
                                                    Counsel for the Chapter 7 Trustee,
                                                    Christopher R. Murray



                                CERTIFICATE OF SERVICE

        This will certify that a true and correct copy of the foregoing document was forwarded by
electronic transmission to all registered ECF users appearing in the case on May 12, 2025.

                                                    /s/ Joshua W. Wolfshohl
                                                     Joshua W. Wolfshohl




                                                3
17223528
       Case 22-33553 Document 1141 Filed in TXSB on 05/12/25 Page 4 of 11




                                         EXHIBIT 1

                  SUMMARY OF TIME EXPENDED BY PROJECT CATEGORY

                 Project Category                    Total     Total Fees
                                                     Hours     Requested
   Asset Analysis/Recovery                             17.10          14,436.50
   Case Administration                                   .20                199.00
   Claims Administration and Objection                  4.70           3,983.50
   Employment/Fee Application                           1.10                467.50
   Tax                                                   .90                848.00


   TOTAL                                               24.00          19,934.50




17223528
       Case 22-33553 Document 1141 Filed in TXSB on 05/12/25 Page 5 of 11




                                       EXHIBIT 2

                        SUMMARY OF OUT-OF-POCKET EXPENSES

                            Expenses                              Cost

  Computer Assisted Legal Research                                          38.30
  Computer Services                                                      1,857.57
  Delivery Service                                                          24.00




  TOTAL                                                                  1,919.87




17223528
       Case 22-33553 Document 1141 Filed in TXSB on 05/12/25 Page 6 of 11




                                   EXHIBIT 3

             SUMMARY OF TIME EXPENDED BY ATTORNEYS AND SUPPORT STAFF

            Professional             Hourly Rate            Total Hours
    Geoffrey L. Schultz                        $1,100.00                    .50
    Joshua W. Wolfshohl                         $995.00                    9.10
    Michael B. Dearman                          $745.00                   11.00
    Jordan T. Stevens                           $725.00                    2.30
    Eliana Garfias                              $425.00                    1.10


    TOTAL                                                                 24.00




17223528
           Case 22-33553 Document 1141 Filed in TXSB on 05/12/25 Page 7 of 11

                                           PORTER HEDGES LLP
                                          A REGISTERED LIMITED LIABILITY PARTNERSHIP


                                                         DEPT. 510
                                                       P.O. BOX 4346
                                                  HOUSTON, TEXAS 77210-4346



                                                   TELEPHONE (713) 226-6000
                                                   TELECOPIER (713) 228-1331



ATTN: CHRIS MURRAY                                                                   Invoice Date:          May 08, 2025
                                                                                    Invoice Num.:                577253
                                                                                  Matter Number:            018577-0001
                                                                                 Billing Attorney:   Joshua W. Wolfshohl
                                                                                          Tax ID:           #XX-XXXXXXX
Matter:             Alex Jones

For professional services rendered and costs incurred through April 30, 2025


    Professional Services                                                                                      19,934.50

    Disbursements                                                                                               1,919.87

    Total Amount Due                                                                                          $21,854.37




                                                                                                                EXHIBIT 4
          Case 22-33553 Document 1141 Filed in TXSB on 05/12/25 Page 8 of 11

PORTER HEDGES LLP
                                                                         Invoice Date:           May 08, 2025
                                                                        Invoice Num.:                 577253
                                                                       Matter Number:            018577-0001



Time Detail

Date          Initials   Description                                                     Hours      Amount
04/02/2025    MBD        Conference with J. Wolfshohl regarding case strategy.            0.40        298.00
04/02/2025    JWW        Conference with M. Dearman regarding equity sale and             0.40        398.00
                         diligence.

04/07/2025    MBD        Review and analyze proposed settlement agreement.                0.50        372.50
04/08/2025    JWW        Review response to motion to intervene.                          0.20        199.00

04/08/2025    MBD        Correspond with E. Jones regarding contract assumption           1.50      1,117.50
                         (.1); analyze settlement agreement (.4); work on
                         bankruptcy next steps (.5); conference with E. Jones
                         regarding executory contracts (.5).

04/08/2025    EG         Attention to emails on PH's monthly fee statement.               0.10         42.50

04/09/2025    JWW        Review order denying certification (.1); analyze claim           1.50      1,492.50
                         issues in light of ruling and emails with PH team
                         regarding same (.3); review settlement agreement (.8);
                         emails and phone conference regarding open issues with
                         NY lawsuit (.3).
04/09/2025    MBD        Attention to multiple correspondence regarding New               1.20        894.00
                         York lawsuit (.3); conference with J. Wolfshohl
                         regarding case status (.4); conference with E. Jones
                         regarding remand and related issues (.5).

04/09/2025    JTS        Review and analyze the order from the Connecticut                0.90        652.50
                         Supreme Court (.2); conduct legal research and analysis
                         regarding the Debtors' potential next steps with respect
                         to the same (.5); draft an email summarizing the results
                         of same (.2).

04/10/2025    MBD        Conference with C. Murray, E. Jones, J. Wolfshohl, and           1.50      1,117.50
                         J. Stevens regarding case status and strategy (.8); attend
                         to correspondence with opposing counsel regarding New
                         York lawsuit (.3); correspond with G. Schulz regarding
                         taxes (.4).

04/10/2025    JWW        Review CT/TX executed settlement agreement (.2);                 1.00        995.00
                         review correspondence regarding pending NY case and
                         follow-up emails regarding same (.2); weekly call with

                                                     - Page 2 -
         Case 22-33553 Document 1141 Filed in TXSB on 05/12/25 Page 9 of 11

PORTER HEDGES LLP
                                                                         Invoice Date:           May 08, 2025
                                                                        Invoice Num.:                 577253
                                                                       Matter Number:            018577-0001



Date         Initials   Description                                                      Hours      Amount
                        Trustee team regarding open issues in case (.6).

04/10/2025   JTS        Prepare for and attend a strategy session with members            0.80        580.00
                        of the Porter Hedges and Trustee teams.

04/11/2025   MBD        Correspondence regarding interim fee statement (.2);              0.60        447.00
                        review analysis of executory contract issues and
                        correspond with E. Jones regarding same (.4).
04/11/2025   EG         Correspondence on filing logistics of PH's Tenth fee              1.00        425.00
                        statement (.2); receive, review, and electronically file
                        same with court (.4); download and circulate filed
                        version (.1); coordinate service of same (.2); update file
                        (.1).

04/14/2025   JWW        Conference with A. Moshenberg and follow-up emails                0.50        497.50
                        regarding request for remand of state court action and
                        pending settlement between families.

04/14/2025   MBD        Review orders dismissing adversary cases.                         0.10         74.50

04/15/2025   JWW        Review and revise stipulation and agreed order on                 0.80        796.00
                        remand (.3); conference with C. Murray and E. Jones
                        regarding same and follow-up review of changes to
                        stipulation and agreed order (.5).

04/16/2025   JWW        Emails regarding stipulation.                                     0.10         99.50

04/17/2025   MBD        Conference with G. Schultz regarding tax questions (.3);          0.40        298.00
                        correspond with C. Murray and G. Schultz regarding
                        same (.1).

04/17/2025   JWW        Conference call with TX/CT parties regarding remand of            0.90        895.50
                        turnover action and related issues (.7); emails with
                        Trustee team regarding same (.2).

04/17/2025   GLS        Correspondence and call with M. Dearman regarding                 0.50        550.00
                        various tax issues.

04/21/2025   JWW        Correspond with Trustee regarding remand issues.                  0.20        199.00

04/22/2025   JWW        Review proposed remand stipulation and phone                      0.70        696.50
                        conference with E. Jones regarding revisions proposed.

04/23/2025   JWW        Emails regarding dismissal of appeal and remand order.            0.20        199.00

                                                     - Page 3 -
           Case 22-33553 Document 1141 Filed in TXSB on 05/12/25 Page 10 of 11

PORTER HEDGES LLP
                                                                            Invoice Date:              May 08, 2025
                                                                           Invoice Num.:                    577253
                                                                          Matter Number:               018577-0001



Date             Initials   Description                                                      Hours        Amount
04/24/2025       JWW        Conference with trustee team regarding remand and                  0.50         497.50
                            appeal dismissal issues.

04/24/2025       MBD        Review revisions to stipulations and agreed orders                 1.10         819.50
                            regarding appeal and remand (.3); conference with C.
                            Murray, E. Jones, and J. Wolfshohl regarding same (.8).

04/25/2025       JWW        Review revised remand stipulation and followup emails              0.40         398.00
                            with parties regarding same.

04/28/2025       JWW        Review draft motion and emails with Trustee regarding              0.30         298.50
                            same (.2); emails regarding status of remand (.1).

04/28/2025       MBD        Analyze Jones motion to reconsider (.5); revise motion             3.00       2,235.00
                            to                     (1.4); draft proposed order on
                            motion to          (1.0); correspond with C. Murray, E.
                            Jones, and J. Wolfshohl regarding same (.1).

04/29/2025       JWW        Review pleading filed by A. Jones and emails with                  0.50         497.50
                            client regarding same and status conference set by court.

04/30/2025       JWW        Conferences with Trustee team regarding hearing,                   0.90         895.50
                            preparation of status report for court and claims and
                            causes of action investigation status.

04/30/2025       MBD        Conference with Trustee team and PH team regarding                 0.70         521.50
                            potential claims (.2); conference with C. Murray, E.
                            Jones, and J. Wolfshohl regarding case strategy (.5)

04/30/2025       JTS        Prepare for and attend strategy session regarding                  0.60         435.00
                            potential causes of action.
Total                                                                                         24.00     $19,934.50

Total Services                                                                                           $19,934.50

Timekeeper Summary

Initials   Name                Timekeeper Title                                 Hours           Rate       Amount
GLS        Geoffrey L. Schultz Partner                                           0.50       1,100.00         550.00
JWW        Joshua W.           Partner                                           9.10         995.00       9,054.50
           Wolfshohl
MBD        Michael B. Dearman Associate                                         11.00        745.00        8,195.00
JTS        Jordan T. Stevens   Associate                                         2.30        725.00        1,667.50

                                                        - Page 4 -
           Case 22-33553 Document 1141 Filed in TXSB on 05/12/25 Page 11 of 11

PORTER HEDGES LLP
                                                               Invoice Date:            May 08, 2025
                                                              Invoice Num.:                  577253
                                                             Matter Number:             018577-0001



Initials   Name              Timekeeper Title                    Hours           Rate       Amount
EG         Eliana Garfias    Paralegal                             1.10        425.00         467.50
Total                                                             24.00                   $19,934.50


Cost Summary
Description                                                                                 Amount
Computer Assisted Legal Research                                                               38.30
Computer Services                                                                           1,857.57
Delivery Service                                                                               24.00
Total Disbursements                                                                        $1,919.87


Total This Invoice                                                                        $21,854.37




                                                - Page 5 -
